Case 2:98-cv-05591-LR Document 292-9 Filed 09/07/06 Page 1 of 4

EXHIBIT 11

~ Case 2:98-cv-05591-LR Document 292-9 Filed 09/07/06 Page 2 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION, )
et al., )
)
Plaintiffs )

) — Civil Action No.

v. . ) 98-CV-5591
yo).
ALBERTO R. GONZALES, in his official)
capacity as Attorney General of )
the United States. )
)
Defendant: )
DECLARATION OF ELIZABETH KADE
I, Elizabeth Kade, hereby state and declare as follows: .

1. My name.is Elizabeth Kade. I am over 18 years of age. I am fully competent to make
this Declaration and I have personal knowledge of the facts stated in this Declaration. To my
knowledge, all of the facts stated in this Declaration are true and correct.

2. [ama Paralegal Specialist for the United States Department of Justice, Federal
Programs Branch. Imake this Declaration in support of the Motion to Dismiss and, in the
Alternative, for Partial Judgment on the Pleadings.

3. On August 25, 2006, I accessed the websites of Femmerotic, Bill Boushka, Free .
Speech Media, Philadelphia Gay News, and Powell’s Bookstores.

4. The Femmerotic website did not have a search function or a link to a “Gallery” section
on its main page. The website did have alink toa “Photography” section. The website’s main
page also had no link to a “FAQ” section, and the “Prose and Poetry,” “Biography,” and “Join”

sections did not have FAQ pages. I did find a “FAQ” page on in the “Journal” section, and the
Case 2:98-cv-05591-LR Document 292-9 Filed 09/07/06 Page 3 of 4

“Photography” section had an “About the site and work” page, neither of which contained
sexually explicit material.

5. Icould not find Bill Boushka’s website identified in the Amended Complaint, High
Productivity Publishing, through the Google search engine. I did find two pages on his current

_ website, www.doaskdotell.com, that state the High Productivity Publishing website was

discontinued July 30, 2005.

6. The first link in Bill Boushka’s interro gatory responses for “The Sub” screenplay led
to a web page stating that the screenplay was only displayed on the website between March 2005
and April 28, 2006. The page retained a list of main ideas contained in the screenplay. The
second link in Bill Boushka’s interrogatory responses for “The Sub” screenplay led to a PDF
document which also stated the screenplay is no longer available. I could only find a link toa
PDF of the “Baptism” screenplay on Bill Boushka’s current website’s “Experimental
Screenplays” page; I could not find a treatment of the “Baptism” screenplay.

7. The Free Speech Media website did not have a general search function; it had only a
_ video search function. I could not find the audio clip of Larry Kramer, either part of AIDS
Community Television’s video “Oral Sex and HIV Transmission, ” or Frank Moore’s video
“Chero Colage: What is Eroplay” via the video search function. I also could not find them
through the site map, in the Featured Videos section, the TV Series section, the Special Programs
section, or the Special Reports section.

8. I could not find either part of the “Women of Vision” video or the “Super Natural
Premiere” video on the Free Speech Media website by typing in the links given in their

interrogatory responses. I also could not find them via the video search function, through the site
Case 2:98-cv-05591-LR Document 292-9 Filed 09/07/06 Page 4 of 4

map, or in the Featured Videos section, the TV Series section, the Special Programs section, or
the Special Reports section.

9. The Philadelphia Gay News website did not have a search function, and I could not

_ find either the “Chat Rooms” page or the “Philly Encounters” page by following the links given

in their interrogatory responses. Neither page could be found from the main PGN website or
through its Classifieds, Phone Personals, or Adult Classifieds pages.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on : August a5 , 2006

Ets Aha.
ELIZABETH KADE
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Civil Division, Federal Programs Branch
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(202) 514-3770 .

